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11 Attorneys for Defendants Tesla, Inc., Elon Musk,
   Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,
12 Antonio J. Gracias, James Murdoch, Kimbal Musk,
   And Linda Johnson Rice
13

14                             UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16

17 IN RE TESLA, INC. SECURITIES                   Case No. 3:18-cv-04865-EMC
   LITIGATION
18
                                                  DEFENDANTS’ MOTION TO REMOVE
19                                                INCORRECTLY FILED ECF NO. 403
                                                  FROM THE COURT’S DOCKET; ORDER
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                                                                     Case No. 3:18-cv-04865-EMC
                         DEFENDANTS’ MOTION TO REMOVE ECF NO. 403 FROM THE COURT’S DOCKET
       Case 3:18-cv-04865-EMC Document 418 Filed 05/09/22 Page 2 of 4




 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that Defendants Tesla, Inc., Elon Musk, Brad W. Buss, Robyn

 3 Denholm, Ira Ehrenpreis, Antonio J. Gracias, James Murdoch, Kimbal Musk, and Linda Johnson Rice

 4 (together, “Defendants”) hereby respectfully request that an order be granted to remove Docket No.

 5 403 from the ECF docket for this matter on the grounds that an excerpt therein was inadvertently filed

 6 publicly and not under seal.

 7          On April 22, 2022, Defendants filed a Renewed Administrative Motion to File Documents

 8 Under Seal (“Motion to Seal”) (ECF Docket No. 403), requesting that the Court seal the confidential,

 9 redacted portions of the documents attached to the Motion to Seal, as stated therein. One of the

10 exhibits to ECF. No 403 inadvertently omitted a redaction of confidential third-party information that

11 was intended to be, and should have been, redacted at the time of filing. A prior request to seal this

12 information (ECF No. 362), had been granted by the Court in its Order at ECF No. 387.

13            Defendants promptly notified the Court’s Civil Case Docketing & Docket Correction, as well

14 as the ECF Help Desk, of this filing error in an attempt to block public access to the inadvertently

15 filed documents pending the resolution of this motion.

16          Defendants respectfully move the Court to remove the incorrectly filed document permanently

17 from the Court’s public docket and ECF. Defendants will file a corrected version of the documents

18 shortly.

19                                            CONCLUSION
20          For the foregoing reasons, Defendants respectfully request that the Court remove ECF No. 403

21 from the public docket permanently.

22 DATED: April 23, 2022                   Respectfully submitted,

23                                         QUINN EMANUEL URQUHART & SULLIVAN, LLP
24
                                           By: /s/ Alex Spiro
25                                            Alex Spiro (appearing pro hac vice)
                                              Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
26                                            Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
27                                            James Murdoch, Kimbal Musk, And Linda Johnson Rice

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                                                -1-                     Case No. 3:18-cv-04865-EMC
                            DEFENDANTS’ MOTION TO REMOVE ECF NO. 403 FROM THE COURT’S DOCKET
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 1                                                  ****

 2         I, Jeanine Zalduendo, am the ECF user whose ID and password are being used to file the

 3 above motion. In compliance with Local Rule 5-1(h)(3), I hereby attest that Alex Spiro has

 4 concurred in the filing of the above motion.

 5 DATED: April 23, 2022                          QUINN EMANUEL URQUHART &
                                                  SULLIVAN, LLP
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 8                                                By /S/ Jeanine Zalduendo
                                                    Jeanine Zalduendo
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                           DEFENDANTS’ MOTION TO REMOVE ECF NO. 403 FROM THE COURT’S DOCKET
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 1                                                ORDER

 2
            The Court has now considered Defendants Tesla, Inc., Elon Musk, Brad W. Buss, Robyn
 3
     Denholm, Ira Ehrenpreis, Antonio J. Gracias, James Murdoch, Kimbal Musk, and Linda Johnson
 4
     Rice (together, “Defendants”) Motion to Remove Incorrectly Filed Docket No. 403 from the
 5
     Court’s docket. Having considered the moving papers before it and finding good cause,
 6
            The Court hereby grants the Motion and orders that Docket No. 403 be removed from the
 7
     docket for this matter.
 8
     IT IS SO ORDERED.
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11
             May 9, 2022
     Dated: __________________
12                                                         HON. EDWARD M. CHEN
                                                           United States District Judge
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                                                   -3-                     Case No. 3:18-cv-04865-EMC
                               DEFENDANTS’ MOTION TO REMOVE ECF NO. 403 FROM THE COURT’S DOCKET
